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Counsel for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


 THE UNITED STATES OF AMERICA,

                        Plaintiff,

      and

 KUSKOKWIM RIVER INTER-TRIBAL                         Case No. 1:22-cv-00054-SLG
 FISH COMMISSION, et al.,

                        Intervenor-Plaintiffs,

 v.

 THE STATE OF ALASKA, et al.,

                        Defendants.

                  JOINT NOTICE REGARDING ORAL ARGUMENT

        Plaintiff United States, the Intervenor-Plaintiffs, and Defendant State of Alaska, et

al., hereby provide notice to the Court regarding the possibility of oral argument on the

United States v. Alaska                                         Case No. 1:22-cv-00054-SLG
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pending cross-motions for summary judgment, ECF Nos. 70, 71, 73, 97.

       The Court’s most recent scheduling orders indicated that the Court would hear

oral argument on the motions. See Amended Scheduling Order 2, ECF No. 68; Order Re

Joint Motion for Extension of Time 2, ECF No. 88. Accordingly, no party expressly

requested argument in accordance with Local Civil Rule 7.1(f). The State and the United

States, however, have consistently expressed their hope that district court proceedings

can be concluded in advance of the 2024 fishing season.

       The parties thus hereby advise that they are willing to submit the fully briefed

motions for decision without argument if the Court believes oral argument would not

assist in reaching a decision. However, the parties will certainly participate in argument

if the Court finds that argument will be useful in deciding the motions.

       Respectfully submitted this 1st day of February 2024.

                                        TODD KIM
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                                        Environment and Natural Resources Division
                                        /s/ Paul A. Turcke
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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2024, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                   /s/ Paul A. Turcke
                                       Paul A. Turcke




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